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                                     Exhibit 2




DOCS DE217813.173819/001
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                               FOR THE DISTRICT OF DELAWARE

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In re:                                                                     Chapter 11

REMINGTON OUTDOOR COMPANY,INC., et                                         Case No. 18-10684(BLS)
al.,'


                                   Debtors.                                (Jointly Administered)
-------------------------------------------------------------     x
                                                                               Docket Ref. No.3

                         ORDER AUTHORIZING DEBTORS TO FILE
                       (I) CONSOLIDATED LIST OF CREDIT0~2S AND
                   {IIZCONSOLIDATED LIST OF TOP THIRTY CREDITORS

         Upon consideration of the motion (the "Motion")2 of the above-captioned debtors and

debtors-in-possession (collectively, the "Debtors") seeking entry of an order (this "Order")

pursuant to sections 341, 105(a) and 521 of the Bankruptcy Code, Section 156(c), rule 1007 of

the Bankruptcy Rules, and rules 1001 1(c), 1007-2, 2002-1, and 9013-1(m) of the of the Local

 Rules, (i) authorizing the Debtors to file a consolidated list of cxeditors, (ii) authorizing the

 Debtors to file a consolidated list of the Debtors' thirty {30) largest unsecured creditors, and

(iii} granting certain related relief, all as mare fully set forth in the Motion; and upon

 consideration of the First Day Declaration; and this Court having jurisdiction over this matter

 pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core

 proceeding pursuant to 28 U.S.C. § 1S7{b)(2), and that this Court may enter an Interim order

                                                                                                                         n
'     The Debtors in these chapter l 1 cases, along with the last four digits of each Debtor's federal tax identificatio
      number, as applicable, are: Remington Outdoor     Company,    Inc. (4491);  FGI  Holding  Company,   LI.0  (9899);
      FGl Operating Company, LI.,C {9774); Remington Arms Company, LLC (0935); Barnes Butlets, LI,C (8510);
      TMRI, Inc. (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Az-ms Distribution
                                                                                                               Outdoors
      Company, LLC (4655); Huntsville Holdings LL.0 (3525); 32E Productions, LLC (2381); Great
                                Outdoor   Services, LLC  (2405).   The  principal offices of Debtor Remington   Outdoor
      Holdco, LLG (7744); and
      Company, Inc., the top-level holding company, are located at 870 Remington Drive, Madison, NG 27025.
 2    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1 09; and this Court having found that the Debtors' notice ofthe Motion and opportunity for

a hearing an the Motion were appropriate under the circumstances and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court (the "Hearin "}; and this Court

having determined that the legal and factual bases set forth in the Motion and at the Hearing

establish just cause for the relief granted herein; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.          The Motion is granted as set forth herein.

        2.          The Debtors are authorized to file a consolidated list of creditors.         The

requirements of Local Rule 1007-2(a) and Lacal Rule 2002-1(f}(v)that separate mailing matrices

be submitted far each Debtor are permanently waived, and the Debtors are authorized to submit a

consolidated list of creditors; provided, however, that if any of these Chapter 11 Cases converts

to a case under chapter 7 of the Bankruptcy Cady, the applicable Debtor shall file its

individualized creditor mailing matrix.

         3.         The Debtors are authorized to ale a consolidated list of their thirty (3Q) largest

 unsecured creditors.

         4.         The Debtors are authorized and empowered to take all actions necessary to

 effectuate the relief granted pursuant to this Order in accordance with the Motion.




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         5.        The Court retains jurisdiction with respect to all matters arising from or ~°elating to

the implementation, interpretation, and enforcement of this Order.



Dated:        Wilmington, Delaware
              March ~,2018

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                                                  The onorable Brendan L. Shannon
                                                  Chief United States Bankruptcy Judge




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